         Case 1:21-cr-00028-APM Document 342 Filed 08/17/21 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA CIRCUIT


UNITED STATES OF AMERICA                      )
                                              )               Case No. 21-cr-00028 (APM)
v.                                            )
                                              )
KENNETH HARRELSON,                            )
                                              )
       Defendant.                             )


       DEFENDANT’S MOTION FOR RELIEF FROM PREJUDICIAL JOINDER
       Defendant, Kenneth Harrelson (“Mr. Harrelson”), by and through his counsel, tenders this

motion for relief from prejudicial joinder because Mr. Harrelson is improperly joined with co-

defendants with whom he barely knows, and who’s charges are significantly likely to have a “spill

over” effect on Mr. Harrelson’s trial, impacting his right to an impartial jury. Severing

codefendants is appropriate where it appears that a defendant is prejudiced by a joinder of defenses

or of defendants in an indictment by such joinder for trial together, the Court may grant a severance

of defendants or provide whatever other relief justice requires. Federal Rules of Crim. Pro. 14(a).

A memorandum in support is being simultaneously submitted.

Date: August 17, 2021                                 Respectfully submitted,

                                               /s/ John M. Pierce
                                              John M. Pierce (PHV admitted)
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                                              Attorneys for Defendant Kenneth Harrelson
         Case 1:21-cr-00028-APM Document 342 Filed 08/17/21 Page 2 of 2




                               CERTIFICATE OF SERVICE

       I hereby certify that, on August 17, 2021, the forgoing document was filed via the

Court’s electronic filing system, which constitutes service upon all counsel of record.

                                             /s/ John M. Pierce
                                             John M. Pierce
